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                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                                FORT SMITH DIVISION

UNITED STATES OF AMERICA                                                             PLAINTIFF

v.                                   No. 2:16-CR-20008-003

ESMERELDA ALBA                                                                      DEFENDANT

                                            ORDER

       Currently before the Court is the Government’s motion to dismiss the pending indictment

as to Defendant Esmerelda Alba (Doc. 122) pursuant to Rule 48(a) of the Federal Rules of Criminal

Procedure.

       Upon due consideration, the Court finds that the motion should be granted.

       IT IS THEREFORE ORDERED that the Government’s motion to dismiss the superseding

indictment as to Defendant Esmerelda Alba (Doc. 122) is GRANTED.               The superseding

indictment filed in the instant matter on October 5, 2016, is hereby DISMISSED WITHOUT

PREJUDICE as to Defendant Esmerelda Alba.

       IT IS SO ORDERED this 12th day of December, 2016.


                                                           s/P. K. Holmes, III
                                                           P.K. HOLMES, III
                                                           CHIEF U.S. DISTRICT JUDGE
